                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION


MARIAN ELIZABETH DUBAR,                             )
                                                    )
                             Plaintiff,             )
                                                    )
       v.                                           )             JUDGMENT
                                                    )
RYAN HANKS, CRYSTAL GRAHAM, and                     )         7:23-CV-1631-BO-RJ
AMY M. YOUNGBLOOD,                                  )
                                                    )
                             Defendants.            )
                                                    )

Decision by Court.

IT IS ORDERED, ADJUDGED AND DECREED that the Court ADOPTS the M&R [DE 14]
in its entirety. Defendants’ motion to dismiss is GRANTED. [DE 6]. Plaintiff’s complaint is
DISMISSED without prejudice for lack of subject matter jurisdiction. Further, plaintiff’s motion
to deposit funds is DENIED as moot. [DE 5].

This case is closed.

This judgment filed and entered on May 7, 2024, and served on:
Marian Elizabeth Dubar (via US Mail to Post Office Box 7548, Wilmington, NC 28406)
Lucas David Garber (via CM/ECF Notice of Electronic Filing)


                                             PETER A. MOORE, JR., CLERK
May 7, 2024
                                             /s/ Lindsay Stouch
                                             By: Deputy Clerk




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